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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


E.N. BISSO & SONS, INC                     *   CIVIL ACTION No.:2:19-cv-14666
                                           *
VERSUS                                     *   SECTION “E”
                                           *
M/V DONNA J. BOUCHARD , her tackle, *          MAG. DIVISION “1”
furniture, apparel, appurtenances, etc.,   *
in rem; and the                            *   JUDGE MORGAN
BARGE B. NO. 272, her tackle, furniture, *
apparel, appurtenances, etc., in rem; and, *   MAGISTRATE JUDGE
BOUCHARD TRANSPORTATION CO.                *   VAN MEERVELD
INC, in personam                           *



                             MOTION TO COMPEL

       NOW INTO COURT, through undersigned counsel, come plaintiffs-in-

intervention, Boland Marine & Industrial, LLC (“Boland”), Belle Chasse Marine

Transportation, LLC (“Belle Chasse Marine”) and John W. Stone Oil Distributor, LLC

(“Stone”), collectively the “Rule B Claimants,” and for the reasons set forth in the

accompanying memorandum file this Motion to Compel discovery responses by the

defendants.

                                   Respectfully submitted:

                                   LAW OFFICE OF CARY A. DES ROCHES


                                   /s/ Cary A. Des Roches
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                                      INDUSTRIAL, LLC

                                      and

                                      COUHIG PARTNERS, LLC
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                                      INDUSTRIAL, LLC


                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has this date been served on

all counsel of record in this proceeding by:

( ) Hand Delivery              ( ) Prepaid U.S. Mail
( ) Facsimile                 ( ) Federal Express
( ) Electronic Mail           (x) CMF/ECF

New Orleans, Louisiana this 28th day of May 2020.


                                      /s/ Cary A. Des Roches_________
                                      CARY A. DES ROCHES




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